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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                              )
                                     )
 TERRY LEE EVANSON                   )     Case No. 13-19032 MER
 LYNETTE PEARCE EVANSON,             )     Chapter 11
                                     )
             Debtors.                )
 ______________________________________________________________________________

      APPLICATION TO EMPLOY SENDER WASSERMAN WADSWORTH, P.C.
           AS SPECIAL COUNSEL FOR THE DEBTORS-IN-POSSESSION
 ______________________________________________________________________________

         Terry Lee Evanson and Lynette Pearce Evanson (the “Debtors”), by and through proposed
 special counsel, Sender Wasserman Wadsworth, P.C., respectfully submits their Application to
 Employ Sender Wasserman Wadsworth, P.C. as Special Counsel for the Debtors-In-Possession, and
 in support thereof state as follows:

        1.       The Debtors filed their voluntary chapter 11 bankruptcy petition on May 28, 2013
 (the “Petition Date”).

        2.      Since the Petition Date, the Debtors have remained in possession of their assets and
 have operated their business and managed their financial affairs as Debtors-in-Possession pursuant
 to 11 U.S.C. §§ 1107 and 1108.

        3.       11 U.S.C. § 327(e) provides for the employment of counsel that does not represent or
 hold an interest adverse to a debtor or the estate with respect to the matter on which counsel is to be
 employed, for a specific purpose.

         4.     The Debtors desire to employ Sender Wasserman Wadsworth, P.C. (“SWW”) as
 special counsel to represent the Debtors in connection with the evidentiary hearing on (a) the Motion
 to Dismiss or Convert filed by the United States Trustee (Docket No. 158) and (b) the Motion to
 Dismiss filed by the Debtors (Docket No. 180).

        5.       David V. Wadsworth is the attorney most likely to perform services on behalf of the
 Debtors. Mr. Wadsworth’s professional rate is $400.00 per hour. Other attorneys at SWW who may
 perform services on behalf of the Debtors bill at rates between $170.00 and $525.00 per hour. The
 hourly rate for SWW paralegals is $115.00.

         6.      SWW received a retainer from the Debtors in the amount of $5,000.00. SWW asserts
 a security interest in the retainer. In the event the case is converted to a chapter 7 proceeding, the
 security interest in the retainer may enable SWW to receive payment of its fees and expenses to the
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 extent of the retainer while other administrative expenses remain unpaid. Any sums remaining at the
 close of the representation will be refunded to the Debtors. There are no liens or interests in the
 retained funds other than the security interest claimed by SWW.

         7.      As stated in the Affidavit of David V. Wadsworth attached hereto as Exhibit 1, SWW
 does not hold or represent any interest adverse to the Debtors and the bankruptcy estate, except as
 stated herein and as described in the affidavit, and is a “disinterested person” as that term is defined
 in 11 U.S.C. § 101(14) of the Bankruptcy Code.

         8.      To the best of SWW’s knowledge, the firm has no connection with the Debtors, the
 creditors, the U.S. Trustee or any employee of the U.S. Trustee, or any other party in-interest herein,
 except that (a) SWW has previously represented the Debtors’ bankruptcy counsel, Jeffrey A.
 Weinman, in his capacity as a bankruptcy trustee and (b) Mr. Wadsworth and SWW attorneys
 Harvey Sender and Daniel Hepner all serve as chapter 7 panel trustees in Colorado.

         9.      The Debtors believe that the employment of SWW as special counsel would be in the
 best interest of the creditors and the bankruptcy estate.

         10.    SWW requests that the Order approving this Application be granted nunc pro tunc to
 the date of September 29, 2016, the date SWW first provided services to the Debtors in connection
 with the above-captioned case.

        11.    SWW’s compensation shall be subject to the approval of the Court, after additional
 motion and notice as provided by applicable law and as provided in the Order Establishing Interim
 Compensation Procedure for All Professionals dated June 17, 2013 (Docket No. 24).

         WHEREFORE, the Debtors requests that the Court enter an Order in the form attached
 hereto (1) authorizing the Debtors to employ the law firm of Sender Wasserman Wadsworth, P.C. as
 special counsel in this bankruptcy case nunc pro tunc September 29, 2016, (2) approving the retainer
 in the amount of $5,000.00, and (3) granting such other and further relief as the Court deems just.

 Dated this 3rd day of October, 2016.           Respectfully submitted,

                                                SENDER WASSERMAN WADSWORTH, P.C.

                                                /s/ David V. Wadsworth
                                                David V. Wadsworth, #32066
                                                1660 Lincoln Street, Suite 2200
                                                Denver, Colorado 80264
                                                (303) 296-1999; (303) 296-7600 (fax)
                                                dwadsworth@sww-legal.com
                                                Proposed Special Counsel for the Debtors
